 Case: 1:23-cv-00208-SNLJ       Doc. #: 106 Filed: 04/09/25        Page: 1 of 3 PageID #:
                                          3263


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                          SOUTHEASTERN DIVISION

SCOTTY LEE WHITE,                        )
                                         )
             Plaintiff,                  )
vs.                                      )         Case No. 1:23-cv-00208-SNLJ
                                         )
PAUL HOPKINS, et al.,                    )
                                         )
             Defendants.                 )

                           MEMORANDUM AND ORDER

      This matter is before the Court on Plaintiffs Motion to Disqualify the undersigned

and Request for a Master to be Appointed (Doc. 100) and Motion for Sanctions and

Request for Master to be Appointed (Doc. 102). After reviewing the motions and the

record before the Court, the motions are denied.

                                      Background

      Plaintiff Scotty Lee White, proceeding prose, filed this lawsuit against six

employees of the Department of Veteran Affairs alleging civil rights claims and a FTCA

claim. The Court dismissed all claims on July 2, 2024. (Docs. 66, 67). White appealed,

(Docs. 68, 81), and on February 12, 2025 , the Court's judgment was affirmed by the

United States Court of Appeals for the Eighth Circuit (Doc. 90).

                                       Discussion

      Despite the dismissal of his lawsuit, White continues to file motions in this Court.

In the instant motions, White seeks disqualification of the undersigned based on

allegations of bias (Doc. 100), a physical and mental examination of the undersigned
 Case: 1:23-cv-00208-SNLJ        Doc. #: 106 Filed: 04/09/25        Page: 2 of 3 PageID #:
                                           3264


under Rule 35 (Docs. 100 and 102), and sanctions against defense counsel for alleged ex-

parte communications with the court clerks (Doc. 102).

       The recusal of a judge is required if the judge bears a "personal bias or prejudice

concerning a party" and where the judge's "impartiality might reasonably be questioned."

28 U.S.C. § 455. "The test for determining whether a judge's impartiality might

reasonably be questioned is an objective one." A.J by L.B. v. Kierst, 56 F.3d 849, 861

(8th Cir. 1995). In other words, the recusal of a judge "is required if a reasonable person

who knew the circumstances would question the judge's impartiality, even though no

actual bias or prejudice has been shown." United States v. Martin , 757 F.3d 776, 778

(8th Cir. 2014). "A party introducing a motion to recuse carries a heavy burden of proof;

a judge is presumed to be impartial and the party seeking disqualification bears the

substantial burden of proving otherwise." Johnson v. Steele, 999 F.3d 584, 587 (8th Cir.

2021) (quoted case omitted).

       White argues the undersigned's rulings in this matter show bias and an inability to

comprehend the facts and the law. "Unfavorable judicial rulings are not sufficient to

require disqualification absent a showing of pervasive personal bias and prejudice." Id.

at 588 (cleaned up). White' s motion asserts no facts demonstrating bias or partiality, or

any other disqualifying circumstance. And the Court' s rulings have been reviewed and

upheld by the Court of Appeals. Finding no reason for the undersigned' s recusal in this

matter, White' s motion to disqualify the undersigned is denied.




                                             2
 Case: 1:23-cv-00208-SNLJ        Doc. #: 106 Filed: 04/09/25       Page: 3 of 3 PageID #:
                                           3265


       Additionally, White' s request for a physical and mental examination of the

undersigned pursuant to Federal Rule of Civil Procedure 35 is denied. There are no

grounds, nor any authority for such a request.

       Further, White' s request for sanctions is denied. White alleges that defense

counsel had ex-parte discussions with court clerks and the clerks have entered evidence

with his motions that he did not submit. (Doc. 102). However, there is no evidence that

defense counsel requested the court clerks to enter evidence with White' s motions not

submitted by him, nor that the court clerks took such action. White has not supported his

motion with facts or any relevant authority.

       Finally, White' s request for the appointment of a master under Rule 53 in this

closed case is denied.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs Motion to Disqualify the

undersigned and Request for a Master to be Appointed (Doc. 100) and Motion for

Sanctions and Request for Master to be Appointed (Doc. 102) are DENIED.

       SO ORDERED this o/-fh day of April, 2025.

                                                                     ....


                                                   ~       11 ~ -
                                          STEPHN ;i:IMBAUGH,JR.
                                          SENIOR UNITED STATES DISTRICT JUDGE




                                               3
